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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

KEEPER SECURITY, INC.,
                                                    No. 17-cv-9117
                       Plaintiff,
v.                                                  Judge Joan Humphrey Lefkow

DAN GOODIN and                                      Magistrate Judge Jeffrey Cole
ADVANCE MAGAZINE PUBLISHERS
INC. d/b/a CONDÉ NAST and ARS
TECHNICA,

                       Defendants.

                                STIPULATION OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), by the signatures of counsel below Plaintiff

Keeper Security, Inc. and Defendants Dan Goodin and Advance Magazine Publishers Inc., being

all the parties to this action, stipulate to the dismissal of this action with prejudice and with each

party to bear its or his own fees and costs.

                                    Respectfully submitted,

                                    /s/Dean D. Niro
                                    Dean D. Niro (dniro@vvnlaw.com)
                                    VITALE, VICKREY, NIRO & GASEY LLP
                                    311 S. Wacker Drive, Suite 2470
                                    Chicago, Illinois 60606
                                    Tel.: (312) 236-0733
                                    Fax: (312) 236-3137
                                    Attorneys for Keeper Security, Inc.

                                    /s/Natalie J. Spears
                                    Natalie J. Spears (Natalie.spears@dentons.com)
                                    DENTONS US LLP
                                    233 S. Wacker Drive, Suite 5900
                                    Chicago, Illinois 60606
                                    (312) 876-8000
                                    Attorneys for Defendants Dan Goodin and Advance
                                    Magazine Publishers Inc.
    Case: 1:17-cv-09117 Document #: 28 Filed: 04/03/18 Page 2 of 2 PageID #:142



                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on April 3, 2018 the foregoing

                                STIPULATION OF DISMISSAL

was filed electronically with the Clerk of the Court for the Northern District of Illinois using the

Court’s Electronic Case Filing System, which will send notification to the registered participants

of the ECF System as listed:

Natalie J. Spears
Gregory R. Naron
Jacqueline A. Giannini
DENTONS US LLP
233 S. Wacker Drive, Suite 5900
Chicago, Illinois 60606
(312) 876-8000
Natalie.spears@dentons.com
Gregory.naron@dentons.com
Jacqui.giannini@dentons.com
Counsel for Defendants Dan Goodin and
Advance Magazine Publishers Inc.


       I certify that all parties in this case are represented by counsel who are CM/ECF

participants.

                                              /s/    Dean D. Niro
                                              Attorney for Keeper Security, Inc.




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